Case 1:02-cv-01299-.]DT-STA Document 43 Filed 08/08/05 Page 1 of 2 Page|D 48

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lN THE UNITED STATES DISTRICT COURT 054{/@` \
FOR THE WESTERN DISTRICT OF TENNESSEE h ap log O-O_
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EAS ERN DIVISION ¢({;f,;_/,/L/,$,i;j;§ 4 06
. _`.E\ /}O;` CG/.
GUIDEONE TAYLOR BALL ) &`/.i'i:j°f’§/€/‘J@
CONSTRUCTION SERVICES, INC., ) M;L’U'£}V /'
)
Plaintiff, )
)
v. ) NO. 02-1299 T/An
)
RICKY HURT, et al., )
)
Defendants. )
ORDER

 

On August l, 2005, the Court held a Show Cause Hearing in this matter to determine
Whether sanctions were appropriate for eou.nsel’S failure to comply with a previous Order of the
Court. After revieW, the Court determines that no sanctions are appropriate, as a

misunderstanding led to the parties not filing a proposed Rule l6(b) Scheduling Order With the

IT lS SO ORDERED.
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Lj`zwj O(, ZD@F"

Court.

This document entered on the docket sheet ln compliance

with mile 58 and,'or_?g (a) FHCP on __OM

 

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This notice confirms a copy of the document docketed as number 43 in
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Honorable J ames Todd
US DISTRICT COURT

